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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     Securities And Exchange Commission,                 Case No. 23-cv-03300-BLF

                                   8                    Plaintiff,
                                                                                             NOTICE OF APPOINTMENT OF
                                   9             v.                                          MEDIATOR
                                  10     Vidul Prakash,
                                  11                    Defendant

                                  12
Northern District of California
 United States District Court




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                                  14   TO COUNSEL OF RECORD:

                                  15          The court notifies the parties and counsel that the Mediator assigned to this case is:

                                  16                                   H. Jay Folberg
                                                                       JAMS
                                  17                                   Two Embarcadero Center, 15th Fl.
                                                                       San Francisco, CA 94111
                                  18                                   415-774-2615
                                                                       jfolberg@jamsadr.com
                                  19

                                  20          Counsel shall familiarize themselves with the requirements of ADR L.R. 6 which governs

                                  21   the Mediation program. The mediator will schedule a joint phone conference with counsel under

                                  22   ADR L.R. 6-6 and will set the date of the mediation session within the deadlines set by ADR L.R.

                                  23   6-4 or the court order referring this action to mediation.

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                                       Notice of Appointment of Mediator
                                       23-cv-03300-BLF
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                                   2          Counsel are reminded that the written mediation statements required by the ADR L.R. 6-7

                                   3   shall NOT be filed with the court.

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                                   5   Dated: January 24, 2024

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                                   7                                                 MARK B. BUSBY
                                                                                     Clerk of Court
                                   8                                                 by: Alice M. Fiel
                                   9

                                  10
                                                                                    ADR Program Case Administrator
                                  11                                                415-522-3148
                                                                                    alice_fiel@cand.uscourts.gov
                                  12
Northern District of California
 United States District Court




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                                       Notice of Appointment of Mediator
                                       23-cv-03300-BLF                               2
